8:16-cr-00077-JMG-CRZ        Doc # 109     Filed: 04/24/17    Page 1 of 6 - Page ID # 204




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiff,                                 8:16-CR-77

vs.
                                                        TENTATIVE FINDINGS
LEE BENSON,

                     Defendant.

       The Court has received the revised presentence investigation report
and addendum in this case. Both the government (filing 102) and the
defendant (filing 103) have objected to the presentence report. The defendant
has also filed a motion for downward departure (filing 105) and a "Motion for
Deviation" (filing 107) that the Court understands to be a motion for
downward variance.1




1 In sentencing a defendant, the Court must first determine the advisory sentencing range


as recommended by the Guidelines. Next, the Court must decide if any applicable
Guidelines provisions permit a traditional "departure" from the recommended sentencing
range. The term "departure" is a term of art under the Guidelines and refers only to non-
Guidelines sentences imposed under the framework set out in the Guidelines. The
calculation of the initial advisory Guidelines range, along with any applicable departures,
results in a final advisory Guidelines sentencing range. Then, in determining the actual
sentence that should be imposed, the Court must consider whether the factors in § 3553(a)
justify a "variance" outside the final advisory Guidelines sentencing range. As opposed to a
"departure," a "variance" refers to a non-Guidelines sentence based on the factors
enumerated in § 3553(a). United States v. Lozoya, 623 F.3d 624, 625-26 (8th Cir. 2010).
8:16-cr-00077-JMG-CRZ     Doc # 109   Filed: 04/24/17   Page 2 of 6 - Page ID # 205




     IT IS ORDERED:


1.   The Court will consult and follow the Federal Sentencing
     Guidelines to the extent permitted and required by United States
     v. Booker, 543 U.S. 220 (2005) and subsequent cases. In this
     regard, the Court gives notice that, unless otherwise ordered, it
     will:

     (a)     give the advisory Guidelines respectful consideration
             within the context of each individual case and will filter the
             Guidelines' advice through the 18 U.S.C. § 3553(a) factors,
             but will not afford the Guidelines any particular or
             "substantial" weight;

     (b)     resolve all factual disputes relevant to sentencing by the
             greater weight of the evidence and without the aid of a
             jury;

     (c)     impose upon the United States the burden of proof on all
             Guidelines enhancements;

     (d)     impose upon the defendant the burden of proof on all
             Guidelines mitigators;

     (e)     depart from the advisory Guidelines, if appropriate, using
             pre-Booker departure theory; and

     (f)     in cases where a departure using pre-Booker departure
             theory is not warranted, deviate or vary from the
             Guidelines when there is a principled reason justifying a



                                      -2-
8:16-cr-00077-JMG-CRZ        Doc # 109     Filed: 04/24/17   Page 3 of 6 - Page ID # 206




               sentence different than that called for by application of the
               advisory    Guidelines,     again     without      affording        the
               Guidelines any particular or "substantial" weight.

2.     Both parties have objected to the presentence report. The
       government objects to the presentence report's conclusion that
       the defendant is accountable for a total of at least 25 grams of
       methamphetamine (actual). Filing 102. Instead, the government
       takes the position that "a mixture of methamphetamine [is] the
       most readily provable drug quantity."2 Filing 102. The defendant
       argues that the drug quantity attributable to the defendant is "at
       least    20   grams     but   not    more    than     30   grams"      of    a
       methamphetamine mixture. Filing 103 at 1. The Court will
       resolve this issue based on the evidence presented at sentencing,
       and the government's burden to prove drug quantity by a
       preponderance of the evidence. United States v. Young, 689 F.3d
       941, 945 (8th Cir. 2012).

       The defendant also objects to the presentence report's lack of a
       role adjustment, arguing that the defendant was a minor
       participant in the offense. Filing 103 at 1. A minor participant
       adjustment applies to a defendant who plays a part in
       committing the offense that makes him substantially less
       culpable than the average participant, but whose role could not
       be described as minimal. United States v. Durham, 836 F.3d 903,
       911 (8th Cir. 2016). The defendant bears the burden of


2 There was no plea agreement in this case, so the government's position is not dictated by


any agreement as to drug quantity.


                                           -3-
8:16-cr-00077-JMG-CRZ     Doc # 109    Filed: 04/24/17     Page 4 of 6 - Page ID # 207




     establishing his entitlement to a minor-role reduction. Id.
     Accordingly, the Court will resolve this issue on the evidence
     presented at sentencing.

3.   The defendant has moved for downward departure on three
     grounds. Filing 105. First, the defendant argues that his criminal
     history   category    of   II    substantially      over-represents    the
     seriousness of his criminal history. See U.S.S.G. § 4A1.3(b)(1). A
     defendant bears the burden of proving the appropriateness of a
     downward departure. United States v. Cantu, 12 F.3d 1506, 1511
     (9th Cir. 1993). And "downward departure from the defendant's
     criminal history category may be warranted if, for example, the
     defendant had two minor misdemeanor convictions close to ten
     years prior to the instant offense and no other evidence of prior
     criminal behavior in the intervening period." § 4A1.3 cmt. n.3.
     The two criminal history points assessed in this case, however,
     were less than 5 years prior to the instant offense, and the most
     recent, in 2012, was drug-related. The Court will, nonetheless,
     resolve this issue at sentencing.

     Next the defendant argues that he has a disability resulting from
     a car accident that is a contributing factor to his drug addiction,
     warranting a departure. Filing 106 at 2. But his motion relies
     upon U.S.S.G. § 5H1.4, which provides that a defendant's
     physical condition may be relevant to determining whether a
     departure is warranted "if the condition . . . is present to an
     unusual degree and distinguishes the case from the typical cases
     covered by the guidelines." See, e.g., United States v. McFarlin,



                                        -4-
8:16-cr-00077-JMG-CRZ     Doc # 109     Filed: 04/24/17    Page 5 of 6 - Page ID # 208




     535 F.3d 808, 810-11 (8th Cir. 2008). The Court will resolve this
     issue at sentencing.

     Finally, the defendant requests a departure based on post-offense
     rehabilitation,    primarily     his   pursuit   of   substance     abuse
     treatment. Filing 106 at 3. But because the guidelines already
     account for rehabilitation under U.S.S.G. § 3E1.1, a departure
     can be granted only if there are rehabilitative efforts exceptional
     enough to be atypical of cases in which the acceptance of
     responsibility reduction is usually granted. United States v.
     Roberts, 313 F.3d 1050, 1054 (8th Cir. 2002). On that basis, the
     Court will resolve this issue at sentencing.

4.   The defendant's motion for variance (filing 107) is primarily
     based on the same considerations raised in his motion for
     downward departure. See filing 108. The Court will consider the
     defendant's arguments and the § 3553(a) factors in determining
     the sentence to be imposed, and will dispose of the defendant's
     motion for variance at sentencing.

5.   Except to the extent, if any, that the Court has sustained an
     objection, granted a motion, or reserved an issue for later
     resolution in the preceding paragraph, the parties are notified
     that the Court's tentative findings are that the presentence
     report is correct in all respects.

6.   If any party wishes to challenge these tentative findings, that
     party shall, as soon as possible (but in any event no later than
     three (3) business days before sentencing) file with the Court and



                                        -5-
8:16-cr-00077-JMG-CRZ   Doc # 109   Filed: 04/24/17   Page 6 of 6 - Page ID # 209




     serve upon opposing counsel an objection challenging these
     tentative findings, supported by a brief as to the law and such
     evidentiary materials as are required, giving due regard to the
     local rules of practice governing the submission of evidentiary
     materials. If an evidentiary hearing is requested, such filings
     should include a statement describing why a hearing is necessary
     and how long such a hearing would take.

7.   Absent timely submission of the information required by the
     preceding paragraph, the Court's tentative findings may become
     final and the presentence report may be relied upon by the Court
     without more.

8.   Unless otherwise ordered, any objection challenging these
     tentative findings shall be resolved at sentencing.

     Dated this 24th day of April, 2017.


                                           BY THE COURT:



                                           John M. Gerrard
                                           United States District Judge




                                    -6-
